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                                                                          U.S. DISTRICT COURT
                                                                        district of new HAMPSHIRE
                                       UNITED STATES DISTRICT COURT             AUG 1^ 2020
                                        DISTRICT OF NEW HAMPSHIRE
                                                                                   FILED
       UNITED STATES OF AMERICA


                     V.                                          Case No. 16-CR-00033-JL


       DANIEL E. MUSSO,Sr.
                     Defendant




                                GOVERNMENT'S AMENDED EXHIBIT LIST


              The United States of America, by Scott W. Murray, United States Attorney for the

       District of New Hampshire, through his assistants, John S. Davis and Matthew T. Hunter, hereby

       submits the Government's Exhibit List. The government may use in its case-in-chief the

       following exhibits:

       Physical Exhibits:
V/o     1      (TO         Grenade & Fuse
Jj/O    2       (i^)       Grenade & Fuse
        3      (TO         Grenade & Fuse
W
y/io    3a                 Fuse only

        4      (TO         Ammunition -7mm Mag(7mm Remington Magnum)
        5       (ID)       Ammunition -.22 Mag(.22 Winchester Magnum Rimfire)
       6        (ID)       Ammunition -.22 Long (.22 Long Rifle)
        7      (TO         Ammunition -.30-06
        8       (ID)       Ammunition - 9mm Auto(9mm Luger)
        9       (ID)       Ammunition -.45 Auto (.45 AC?)
        10     (TO         Ammunition - 7.62 x 54R (7.62 x 54mmR)
        11      (ID)       Ammunition -.44 Mag(.44 Remington Magnum)
        12      (ID)       Ammunition -.357(.357 Magnum)
        13      (ID)       Ammunition -.50 Cal (.50 Caliber Sabot)

       100 Series:    Documents from Defendant
        101    (TO        Handwritten list from July 2015                           02855
?llO    102    m          Handwritten list from Dec 2015                            00105-00106
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        103A            Handwritten list located during search                      02828
        103B            Second handwritten list located during search               02828.03-04


        104    (T^)     Handwritten list from July 2015 with highlighted sections   00895
        105             Handwritten email address "dmussosr(^,comcast.net"          02835
di'
Y/i     106    (^)      Handwritten list of9mm guns                                 02830
        107             Handwritten note "North 95 Ext."                            02829
        108             Handwritten list of ammunition


       200 Series:  Recordings and Transcripts
        201A          12/12/2015 Video(Ml)- Defendant and CHS meet
        201B    (^) 12/12/2015 Video (clip)- Defendant and CHS meet
        201C    (ID) 12/12/2015 Transcript(clip)- Defendant and CHS meet

        202A    (ID)     01/15/2016   Video(Ml)- Defendant and CHS meet
        202B    (IS')    01/15/2016   Video (clip)- Defendant and CHS meet
        202C    (ID)     01/15/2016   Transcript(clip)- Defendant and CHS meet

        203A    (ID)     01/22/2016   Video (full)- Defendant and UC meet (fixed camera)
        203B    (ID)     01/22/2016   Video (clip)- Defendant and UC meet (fixed camera)
        203C    (ID)     01/22/2016   Transcript (clip)- Defendant and UC meet (fixed camera)

        204A    (ID)     01/22/2016   Video (full)- Defendant and UC meet(UC body camera)
^/ii    204B
        204C    (ID)
                         01/22/2016
                         01/22/2016
                                      Video (clip)- Defendant and UC meet(UC body camera)
                                      Transcript (clip) — Defendant and UC meet(UC body camera)

        205A    (ID)     01/27/2016 Video(Ml)w/out audio - Defendant and UC in parking lot
        205B    (ID)     01/27/2016 Audio(Ml)- Defendant and UC in parking lot
«//!    205C    00)      01/27/2016 Video (clip) synced w/audio — Defendant and UC in parking lot
        205D    (ro)     01/27/2016 Transcript (clip)- Defendant and UC in parking lot

        206A    (ID)     01/27/2016 Video(Ml)- Defendant Post Arrest Interview
        206B             01/27/2016 Video (redacted clip)- Defendant Post Arrest Interview
        206C    (ID)     01/27/2016 Transcript (redacted clip)- Defendant Post Arrest Interview

 'a-    207     CJ0)     07/30/2020   Video(Ml)- Grenade Detonation


       300 Series:    Email
m       301    (0) Email 07/25/2015 (d), 4:22 PM - Defendant to CHS                  01466

V/0     302    (S)      Email 09/30/2015 (d, 5:33 PM - Defendant to CHS              00104
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        303    (^) Email 10/06/2015 (S, 4:34 PM - Defendant to CHS               00103
        304           Email 10/07/2015     7:02 PM fwd -Defendant to CHS         01463
        305    (ID)   Email 10/18/2015 (^,8:42 PM-Defendant to CHS               00099
        306    (ID)   Email 10/19/2015     5:21 AM - Defendant to CHS            01462
        307       Email 10/24/2015 @ 6:04 PM - Defendant to CHS
               (ID)                                                              01461
Wi"     308    (^ Email 10/25/2015 (S, 6:26 AM - Defendant to CHS                01460
W/o     309    (&     Email 11/05/2015     5:56 PM - Defendant to CHS            01459
        310    (£^    Email 11/06/2015     2:34 PM-Defendant to CHS              01457-01458
ilio    311           Email 11/09/2015 m 1:45 AM - Defendant to CHS              01456
y/o     312     m     Email 11/17/2015 (5) 5:52 AM - Defendant to CHS            01455
'^llO   313           Email 11/18/2015     7:00 PM - Defendant to CHS            00094-00095
V,o     314           Email 01/06/2016     8:18 AM - Defendant to CHS            01454
iji^    315     m     Email 01/12/2016 (S, 8:27 AM - Defendant to CHS            01453
iflO    316           Email 01/21/2016 (S, 5:54 AM - Defendant to CHS            00092
        317           Email 01/23/2016     4:23 PM - Defendant to CHS            01451
        318           Email 01/25/2016 (S, 9:38 PM - UC and Defendant            00227
        319    (ID)   Email 01/27/2016 (S, 6:08 AM - Defendant to CHS            01452


     400 Series: Photographs
      401    (P) 01/22/2016- Grenade photo shown to Defendant                    00221
    ''402    (0^ 01/22/2016 - Grenade photo shown to Defendant                   00222
    > 403    w) 01/22/2016 - Grenade photo shown to Defendant                    00223
      404    W) 01/22/2016 - Grenade photo shown to Defendant                    00224


    ) 405       (1^5) 01/27/2016 -Olive Garden Bag, exterior                     00638
    ; 406       w) 01/27/2016 -Olive Garden Bag, interior                        00639
    ; 407       w) 01/27/2016 -Olive Garden Bag, interior                        00640
    ) 408      (^) 01/27/2016 -Olive Garden Bag,4 canisters                      00641


        409A          01/27/2016 - Photo Grenade meet between UC & Def           00596
        409B          01/27/2016 -Photo Grenade meet between UC & Def            00597
        409C          01/27/2016 -Photo Grenade meet between UC & Def            00605
        409D          01/27/2016 - Photo Grenade meet between UC & Def           00606
        409E          01/27/2016 - Photo Grenade meet between UC & Def           00612
        409F          01/27/2016 - Photo Grenade meet between UC & Def           00616


        410A          01/27/2016 - Photo   Defendant carrying Olive Garden Bag   00617
        410B          01/27/2016 - Photo   Defendant carrying Olive Garden Bag   00618
        410C          01/27/2016- Photo    Defendant carrying Olive Garden Bag   00619
        410D          01/27/2016 - Photo   Defendant carrying Olive Garden Bag   00622


        411    (ID)                      Intentionally Left Blank                00233
               Case 1:16-cr-00033-JL Document 163 Filed 08/14/20 Page 4 of 5




       412     (ID)                     Intentionally Left Blank                      00687


91,0                  Photo Plastic Grenade located during search                     00494


9/10   414A           Photo Plastic Grenade - close up                                02832

^IP    414B           Photo Plastic Grenade - close up of pin                         02833
9/tO   414C           Photo Plastic Grenade - close up of pin                         02834


       415A                             Intentionally Left Blank
       415B                             Intentionally Left Blank
       415C           Photo Grenade before detonation on 7/30/2020                    02854.11
       415D           Photo Barrel interior after detonation on 7/30/2020             02854.24
       •415E          Photo Barrel exterior after detonation on 7/30/2020             02854.27
       '415F          Photo Barrel exterior close up after detonation on 7/30/2020    02854.28


       416A           Photo of Grenade -4 closed containers measured                  00628
       416B           Photo of Grenade — 4 opened containers measured                 00629
       416C           Photo of Grenade — 1 opened container measured, interior view   00630
       416D           Photo of Grenade 4 grenades removed from containers             00634
                      measured
       416E           Photo of Grenade - closeup view of measured grenades 1 & 2      00635
       416F           Photo of Grenade - closeup view of measured grenades 3 & 4      00636


       4i7A           Photo - Olive Garden bag seized from Defendant after arrest     00671
       417B           Photo - 4 canisters inside Olive Garden bag                     00672
        417C          Photo"4 uncovered canisters inside Olive Garden bag             00674
  /l'417D             Photo -4 Grenades removed from canisters                        00679


        418    (ID) Photo - CHS Grenades from shop safe
        419           Photo - Forensic analysis of Grenades

       500 Series: Certified Records
        501            ATF Record Search Certification of Sandra Snook                01681-01683
        502            ATF Record Search Certification of Kimberly Rowland            01686-01687
        503           FLS Search Certification of Melissa Alexander-Coleman           01684-01685
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      The government reserves the right to amend this exhibit list.



Dated: August 12,2020                              Respectfully submitted,

                                                   SCOT"      \ MUi
                                                   Unitedi^tj     Att



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